                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


MIDDLESEX, SS

                                                                        CASE NO. 14-CV-I3351-IT


Theodore J. Guarriello, Jr.,
et al
                   Plaintiff(s)
        V.

                                                        ANSWER OF TRUSTEE
Family Endowment Partners, LP,                          THE VILLAGE BANK
et al, and Lee Dana Weiss
                Defendant(s)
        and


The Village Bank,
                   Trustee




             Now comes The Village Bank, successor by merger to the Aubumdale Co-operative
Bank, named as Trustee in the above action, and for answer states that at the time of service of
the Summons on it, it held no funds of the Defendant, Lee Dana Weiss subject to any exemption
allowed by Massachusetts Law.

Signed under the pains and penalties of perjury

                                  By its attorney,




Dated: August 25, 2017
                                                 Walter E. Devine, II
                                                 Attorney at Law
                                                 277 Auburn Street
                                                 Newton, MA 02466
                                                 Tel. (617) 244-8869
                                                 BBO# 563960
                             CERTIFICATE OF SERVICE


       I hereby certify that a true copy of the within Answer was served upon the
Plaintiff, by USPS, 1®' class mail, to their attorney Rory C Flynn, Esquire, Bruch
Hannah, LLP, 1099 New York Avenue NW, Suite 506,;;?^shington, DC 20001


DATED: August 25,2017
                                             WAXTER E. DEVINE, I]
                                             BBO# 563960
